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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

   IN RE: ZANTAC (RANITIDINE)                                                     MDL NO 2924
   PRODUCTS LIBAILITY                                                              20-MD-2924
   LITIGATION

                                                          JUDGE ROBIN L. ROSENBERG
                                                  MAGISTRATE JUDGE BRUCE REINHART

   THIS DOCUMENT RELATES TO:

   Jennifer L. Trotter and Nigel A. Trotter
   Plaintiffs
                          _________________/

          AMENDED MOTION FOR ENTRY OF JUDGEMENT IN ACCORDANCE
                    WITH DESIGNATED CANCER CASES1

          1.     Plaintiffs Jennifer L. Trotter (“Mrs. Trotter”) and Nigel A. Trotter (“Mr.

   Trotter”), (collectively, “Plaintiffs”), pursuant to Federal Rule of Civil Procedure 58, move for

   entry of final judgment in accordance with the judgment entered into by this Court in the listed

   Designated Cancer Cases. (Order Severing Bankruptcy Def., Vacating Prior Entry of Rule 54(B)

   J.s, Entering Rule 58 Final J. in Certain Designated Cancer Cases, and Requiring Additional

   Briefing, Sept. 26, 2023, ECF No. 6974.).

          2.     Plaintiffs filed their Complaint on March 30, 2023, alleging multiple products

   liability and negligence causes of action in addition to unjust enrichment and loss of consortium

   claims. (Short-Form Compl. 4-5, Mar. 30, 2023, ECF No. 1.). The case was initiated due to Mrs.

   Trotter’s pancreatic cancer diagnosis stemming from her use of Defendants’ medications. (Short-



   1
    This motion amends the original motion filed on October 13, 2023. (Mot. for Entry of J. in
   Accordance with Designated Cancer Cases, Oct. 13, 2023, ECF No. 6999.) to comply with this
   Court’s Local Rule 7.1(a)(3).
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   Form Compl. 3, Mar. 30, 2023, ECF No. 1.).

          3.      On September 26, 2023, the Court entered a Final Judgment in favor of the

   Defendants in each case listed as a Designated Cancer Case. (Final J., Sept. 26, 2023, ECF No.

   6974-6.). Plaintiffs’ case, however, is not listed, barring them from appealing the Final Judgment.

   (Ex. 1, ECF No. 6974-1.) (Ex. 2, ECF No. 6974-2.) (Ex. 3, ECF No. 6974-3) (Ex. 4, ECF No.

   6974-4.). While this case is not included in the list,2 it is certainly a Designated Cancer Case. Mrs.

   Trotter was diagnosed with pancreatic cancer, one of the designated cancers, and the Complaint

   names the same defendants referred to in the Final Judgment. (Final J., Sept. 26, 2023, ECF No.

   6974-6.).

          4.       To preserve the opportunity to timely appeal by October 26, 2023, thirty (30) days

   from the issue of the Final Judgment, Plaintiffs respectfully request that this Court enter judgment

   in accordance with the Final Judgment filed on September 26, 2023, because this case is and should

   be considered a Designated Cancer Case.

          WHEREFORE, Plaintiffs respectfully requests that this Honorable Court enter and Order

   entering the final judgment in accordance with the judgment entered into by this Court in the listed

   Designated Cancer cases and grant such further relief as this Court deems just and proper.

                  CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

          In accordance with Local Rule 7.1(a)(3), Counsel for Plaintiffs Jennifer Trotter and Nigel

   Trotter, have conferred with Defendants’ attorneys, Rania Kajan and Julia Zousmer at King &




   2
     Counsel for Plaintiffs did review the lists and located a Trotter case; 3:23-CV-10191-RLR on
   the list, and at the time believed that the case was included. However, it has not come to light the
   Trotter case on the list is associated with a different Plaintiff.
                                                     2
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   Spalding, LLP who have advised they do not oppose this Motion for Entry of Judgement in

   Accordance with Designated Cancer Cases.

   Dated: October 18, 2023

                                               Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on October 18, 2023, I electronically filed the foregoing with

   the Clerk of the Court using CM/ECF. Copies of the foregoing document will be served on all

   parties via transmission of Notice of Electronic Filing generated by CM/ECF.



                                                      By: /s/ Patricia Melville
                                                              Patricia Melville
                                                              Florida Bar No. 475467




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